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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF MISSISSIPPI
                                 HATTIESBURG DIVISION

                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
                                 Plaintiff,       ) Civil Action No. 2:67-CV-2216-HSO-RHWR
                                                  )
SHEANDA BRYANT, et al.                            )
                                                  )
                    Plaintiff-Intervenors,        )
               v.                                 )
                                                  )
LAWRENCE COUNTY SCHOOL                            )
DISTRICT, et al.,                                 )
                                                  )
                                 Defendants.      )
                                                  )
                                                  )
                                                  )

                   NOTICE OF APPEARANCE OF AJAY P. SAINI
              ON BEHALF OF PLAINTIFF UNITED STATES OF AMERICA

       Pursuant to L.R. 83.1(d)(10), Plaintiff United States of America (“United States”)

respectfully requests that the Court enter the appearance of Ajay P. Saini as co-counsel of record

for the United States in the above-captioned action. The undersigned (i) is an active member in

good standing of the Bar of the State of New York (2013); (ii) is admitted to the U.S. District

Court for the Southern District of New York (2018); (iii) is admitted to the U.S. District Court

for the Eastern District of New York (2017); (iv) was, in accordance with L.R. 83.1(d)(10),

formally introduced to the Court on October 28, 2021 in a letter from Angela Williams, Chief of

the Civil Division in the United States Attorney’s Office for the Southern District of Mississippi,

See Exhibit A; and (v) although not admitted to practice in the U.S. District Court for the

Southern District of Mississippi, pursuant to L.R. 83.1(d)(10) is eligible to practice there as co-

counsel for the United States.
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       Pursuant to Rule 5 of the Federal Rules of Civil Procedure, all further notices and copies

of pleadings, papers, and other materials relevant to this action should be served upon:

       Ajay P. Saini
       Trial Attorney
       Educational Opportunities Section
       U.S. Department of Justice
       Civil Rights Division
       950 Pennsylvania Ave., N.W. - 4 CON
       Washington, DC 20530
       Tele: (202) 598-1651
       Ajay.Saini@usdoj.gov
       crtedu.filings@usdoj.gov


 Dated: November 1, 2021.

                                             FOR PLAINTIFF UNITED STATES OF
                                             AMERICA:

                                             KRISTEN CLARKE
                                             Assistant Attorney General
                                             Civil Rights Division

                                             SHAHEENA A. SIMONS
                                             Chief

                                             JONATHAN D. NEWTON
                                             Deputy Chief



                                             __/s/ Ajay Saini________________
                                             AJAY P. SAINI (NY #5183314)
                                             Educational Opportunities Section
                                             Civil Rights Division
                                             U.S. Department of Justice
                                             950 Pennsylvania Avenue, N.W. – 4CON
                                             Washington, D.C. 20530
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                                             Fax: (202) 514-8337




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                                CERTIFICATE OF SERVICE

       I hereby certify that, on this first day of November 2021, I electronically filed the

foregoing Notice of Appearance with the Clerk of the Court using the CM/ECF system, thereby

providing service on all counsel of record.


                                              __/s/ Ajay Saini_____________
                                              AJAY P. SAINI (NY #5183314)




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